Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 1 of 38 Page ID
                                 #:10740




                  EXHIBIT D
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 2 of 38 Page ID
                                 #:10741
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 3 of 38 Page ID
                                 #:10742
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 4 of 38 Page ID
                                 #:10743
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 5 of 38 Page ID
                                 #:10744
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 6 of 38 Page ID
                                 #:10745
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 7 of 38 Page ID
                                 #:10746
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 8 of 38 Page ID
                                 #:10747
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 9 of 38 Page ID
                                 #:10748
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 10 of 38 Page ID
                                 #:10749
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 11 of 38 Page ID
                                 #:10750
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 12 of 38 Page ID
                                 #:10751
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 13 of 38 Page ID
                                 #:10752
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 14 of 38 Page ID
                                 #:10753
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 15 of 38 Page ID
                                 #:10754
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 16 of 38 Page ID
                                 #:10755
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 17 of 38 Page ID
                                 #:10756
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 18 of 38 Page ID
                                 #:10757
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 19 of 38 Page ID
                                 #:10758
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 20 of 38 Page ID
                                 #:10759
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 21 of 38 Page ID
                                 #:10760
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 22 of 38 Page ID
                                 #:10761
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 23 of 38 Page ID
                                 #:10762
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 24 of 38 Page ID
                                 #:10763
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 25 of 38 Page ID
                                 #:10764
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 26 of 38 Page ID
                                 #:10765
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 27 of 38 Page ID
                                 #:10766
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 28 of 38 Page ID
                                 #:10767
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 29 of 38 Page ID
                                 #:10768
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 30 of 38 Page ID
                                 #:10769
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 31 of 38 Page ID
                                 #:10770
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 32 of 38 Page ID
                                 #:10771
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 33 of 38 Page ID
                                 #:10772
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 34 of 38 Page ID
                                 #:10773
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 35 of 38 Page ID
                                 #:10774
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 36 of 38 Page ID
                                 #:10775
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 37 of 38 Page ID
                                 #:10776
Case 2:15-cv-06633-CAS-SS Document 409-9 Filed 04/10/19 Page 38 of 38 Page ID
                                 #:10777
